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  UNn'SzD STATES OF AMKKiCA                                      STfPULATlON fN SUPPORT
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         The United .SuUc.s of America and [he dci"endaiUJuint!y rcquc^ an(E a^rcc thf.H ihc lime
 period Froiii 4/2/2025 (<i 4/30/25 he exclndccl from tiic cojnpuUtlion ofihc penod within winch an
 inrormatlon or uuti(Umcnl nuisi be i\k\^ \wnww[ (o Title I K, United States Code, Scdion 316!(b)
 and (h)(7). Singh \vus chiu-gcil wilh a viojntion of 18 II.S,('. §§ 2422(b)an<l 2 in <! conipEainE
 dutcd MAY 1 > 2023, '[\\^ dcfcndani was prescnfud byforc Mngisiratc Judirit C. McCarll^y on
 I, 2023, nnd ihc dei'eiulniit wns relm.scd on $700,000 E?ond, co-slnnei! by four i'inancini
 re.spon$ibie pet'^on^, and subject lo vnrious condilioiK .set for!h hi the Order Suiting CoiU.iillons
 Relcusc(23-m]~347t).

        Th^piU-tic^ submit thnt iherc isgoodctUiscioi'nniKidHioj'ialuxdiisionoftiinc EK'-yau:^
 parties arc exploring a possibic dlsiiosition of Ihis case prior 10 trial. In piinicuiar* on
 Miu'ch 1,2024, defense cotinsct provided n mitigation submission lo the Oovcrnmeni. C)n
 January 6,2025 J7chtuaiy 26,2025 juulMarcti 31,2025, iiic parties cn^ltcdregitrdingtl^de.feme
 submission, imd tl is fhc Oovernincnl's understanding that defense coun.sct inronds |o prQvldc
additional infonuatlon. The panics wouid use the additiona! (inie to continue considfrEng und
ci^cussing t|^fdalcn?e's mitigation requesl, as well as a potential disposition.

        By {h^1 roJiowingsiymUut'csvvcugrecjind conscsU to (he exclusion of'time noted above;


                                                                                          4/1./202;
Dyfen^nj^Counsut                   Date                  AssiyEant 17.S. Attorney Dale
Kevin Com<|t)% Hsq.                                     Kalhrvn \Vhcciock

         The defendant states thnt he has been ruily advised by counsel ol his rights guaranteed
 iindci'(a)ofthc Si^th Amencinienl to the Con.siitution; (b) the Speedy Trial Act of 1974, i\3 sci
 forth in Title 13, United States Code, Sections 3161--74^nd(c) the plans and ruicsofilus Cmm
adopted pursuant to that Act. The defendant understands that he/she im a right to be charged by
indictment or mEom-uUion, <md fo linvc a iri^i before a Judge OCJUQS within u specified lun-e
(cxeluding certain ihne periods) under (he ConstiUiilon and Rules and Laws ofthc Unliod Su-tk^
identified above. JhQ d^fcndanl consenls and ugrees to ihc L-sbovc requ^si.


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Case 7:23-mj-03471-UA                 Document 36             Filed 04/03/25           Page 2 of 2




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Itc^rd i\[ a proceeding on !!w dulc below, the !huc |^nod froan 4/2/2023 to 4/30/25 h hereby
excliKled in cuinpntiuu the iune \\'}{\m wliicli un hulicimenl or Inrornuiuon li^.i.sl b<1 fiJ^'J. The
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mxl^^..MJA.

na^-...tll.U£..-                                                     i)OKi)I':!U-;0
   White f)!ni^, Nc\v York

                                                             Hon, Aiuli'ev/!.:. K.rcu^c
                                                            United Sl.uc^ M;ji2i;ilnt!c Jud^'a
